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UNITED STATES DISTRICT COURT
DISTRICT OF IDAHO (NORTHERN DIVISION)

CODY J. SCHUELER, an individual,

Plaintiff, Case No. 2:22-cv-00389-DCN
Vv.
DECLARATION OF RICHARD T.
FOUR SQUAREBIZ, LLC, a Wyoming WETMORE RE: NORTHERN IDAHO
limited liability company, KEITH O. REASONABLE COMMERCIAL
CREWS, an individual and the associated LITIGATION RATES

marital community, MICAH EIGLER, an
individual and the associated marital
community, and JOHN AND JANE DOES
1-10,

Defendants.

I, Richard T. Wetmore, do hereby declare that the foregoing is true and correct to the
best of my knowledge and understanding:
l. I am over the age of eighteen, not a party to this matter, and competent to testify

regarding the information contained herein.

Declaration of Richard T. Wetmore Re: ETTER, MCMAHON, LAMBERSON,
Northern Idaho Reasonable Commercial VAN WERT & ORESKOVICH, P.C.

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Z, I make this Declaration at the request of Counsel for Plaintiff Cody J. Scheuler
regarding reasonable commercial litigation rates in the District of Idaho,
Northern Division. I have reviewed various pleadings in this matter, including
the Complaint; Memorandum in Support of Plaintiffs Motion for Default
Judgment; Findings of Fact, Conclusions of Law, and Order Granting Default
Judgment; and the Judgment in the amount of $1,199,809.31.

3. I received my Juris Doctor (JD) degree from the University of Colorado School
of Law in 2005. Prior to attending the University of Colorado School of Law, I
graduated from Southwestern Adventist University in 2001, with a Bachelor of
Business Administration (BBA) and magna cum laude honors.

4. I have 18 years of experience as a trial attorney. I am a Partner at Dunn &
Black. I am currently licensed to practice law in Washington, Idaho, Oregon,
Montana, and Colorado. My current practice consists primarily of complex civil
litigation and construction law matters. I have been recognized as a “Top
Lawyer” in Spokane Coeur d’Alene Living Magazine. I have also been
recognized as a Super Lawyer in Construction Litigation by Washington Super
Lawyers Magazine. I have a perfect “10.0” rating with Avvo.

5. I served for six years as an at-large member on the Executive Committee for the
WSBA Construction Law Section. I have successfully litigated, arbitrated, and
mediated complex disputes involving commercial and residential construction

projects, government construction projects, business disputes, insurance

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coverage actions, and other civil litigation matters. | have also successfully
argued cases before the Washington Supreme Court, Washington Court of
Appeals and the Oregon Court of Appeals.

6. Dunn & Black, P.S., is an AV-rated law firm, and is a recognized leader in
construction law throughout the Northwest, with an extensive litigation practice
in business and complex civil disputes, eminent domain/condemnation, and real
estate disputes. Founded in 1991, we represent a wide variety of clients
including regional and national contractors, owners, developers and sureties
throughout the western United States. Due to our experience and reputation, we
have litigated cases and resolved complex matters throughout the country.

7. Dunn & Black, P.S. has consistently been awarded the Best Law Firm Ranking
for its Construction, Litigation, Employment Law, and Eminent Domain practice
areas. The lawyers of Dunn & Black, P.S. are also consistently ranked among
the top lawyers in Washington, having received top ratings by Martindale
Hubbell, AVVO, Washington Law and Politics Magazine, Spokane Coeur
D’Alene Living Magazine, and with several having been named “Super
Lawyers” and “Rising Stars” by Washington Super Lawyers Magazine.

8. In my experience, I have come to understand that the rates charged by Dunn &
Black, P.S., are reasonable in the community, and while they may be higher than
some, they are lower than rates charged by other firms in Seattle or Portland for

lawyers of equal abilities. Dunn & Black, P.S. currently charges:

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a. Between $350 and $500 per hour for Partners; and
b. Between $200 and $325 per hour for Associates.

9. Over the years, courts have consistently found that the rates charged by Dunn &
Black, P.S. were reasonable.

10. I have known Plaintiff’s Counsel Andrew Wagley for multiple years and worked
on various matters with him, both as opposing counsel and during the joint
defense of aligned co-defendants. Mr. Wagley is a Shareholder / Principal at
Etter, McMahon, Lamberson, Van Wert & Oreskovich, P.C. and has been
practicing for approximately eight years.

11. Based upon my experience, it is my opinion that the billing rate of $275 per hour
for Mr. Wagley’s legal services and $225 per hour for the services of his
associate is reasonable for the Eastern Washington/Northern Idaho region.

12. | My opinion regarding the above-referenced fee rates is current for the applicable
legal market as of September 2023.

I hereby declare the foregoing is true and correct under penalty of perjury of the laws of

the State of Idaho and the United States.

EXECUTED this \6iday of September, 2023, in Spokane County, Washington.

DUNN & BLACK, PS.

A> ViL.e

Richard T. Wetmore, ISB #9418

Declaration of Richard T. Wetmore Re: ETTER, MSMAHON, LAMBERSON,
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